   Case 2:14-cr-00001-JPJ-PMS      Document 223     Filed 10/01/14   Page 1 of 13
                                   Pageid#: 1293



                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION

UNITED STATES OF AMERICA       )
                               )
                               )                      Case No. 2:14CR00001
                               )
v.                             )                      OPINION AND ORDER
                               )
DOUGLAS EUGENE STEPHENS,       )                      By: James P. Jones
CONSTANCE NICOLE STEPHENS, and )                      United States District Judge
CECIL A. MCCONNELL, JR.,       )
                               )
            Defendants.        )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States; Brian J. Beck, Assistant Federal Public Defender, Abingdon,
Virginia, Michael A. Bragg, Bragg Law, Abingdon, Virginia, and A. Benton
Chafin, Jr., and Katherine Crabtree, Chafin Law Firm, P.C., Lebanon, Virginia,
for Defendants.

      The defendants, charged with trafficking in controlled substance analogues,

have moved to suppress evidence obtained pursuant to search warrants.           The

defendants argue that the search warrants were not supported by probable cause.

Following a hearing, I will deny the motions for the reasons that follow.

                                         I.

      The defendants are charged by indictment with conspiracy to distribute and

possess with intent to distribute UR-144, XLR-11, 5F-PB-22, and PB-22 — all

alleged to be Schedule I controlled substance analogues under 21 U.S.C. § 802(32)

— in addition to other related offenses. Prior to these charges, search warrants
   Case 2:14-cr-00001-JPJ-PMS        Document 223      Filed 10/01/14    Page 2 of 13
                                     Pageid#: 1294



were executed at Cecil’s Variety Store (owned by defendant McConnell), at the

store Get it Here (owned by defendant Douglas Stephens), and at the Stephens’

residence, all of which are located in Pound, Virginia. The search warrants were

issued separately by state and federal judicial officers, based upon sworn law

enforcement affidavits. As a result of the searches, law enforcement officers

seized merchandise, cash and other property.

      The defendants have moved to suppress the evidence yielded by the searches

on the ground that there was not probable cause to support the search warrants.

They contend that the affidavits inadequately alleged that the substances sold by

the defendants, particularly XLR-11, are controlled substance analogues, and that

the controlled buys discussed in the affidavits were too remote in time to support

probable cause. A joint hearing was conducted on the motions, at which the court

heard testimony from the officers who authored the affidavits supporting the search

warrants and received copies of the relevant affidavits and documents.1 From the

evidence presented at the hearing, I find the following facts:




      1
          While I received this evidence without objection, the defendants did not contend
that they were entitled to a so-called Franks hearing — that, is an evidentiary hearing by
which the defendants would attempt to show that the affidavits contained false statements
or those made with a reckless disregard for the truth. See Franks v. Delaware, 438 U.S.
154, 155-56 (1978). No such claims are made in this case. The only issues are whether
the affidavits themselves demonstrated probable cause or whether, in any event, the
evidence is saved by the good-faith exception to the exclusionary rule.
                                           -2-
Case 2:14-cr-00001-JPJ-PMS     Document 223     Filed 10/01/14    Page 3 of 13
                               Pageid#: 1295



1. On September 23, 2013, a search warrant was executed by state police

   officers at Cecil’s Variety Store. Numerous items were seized as a result of

   the search, including merchandise, cash and other property.

2. The warrant was based on the affidavit of Lieutenant Larry Mullins, an

   investigator with the Wise County, Virginia, Sheriff’s Office. Lt. Mullins

   has been a law enforcement officer for eighteen years, ten years of which he

   has been assigned to a regional narcotics task force.         He has received

   numerous narcotics investigation training courses, and has participated in a

   variety of undercover narcotics operations, including ones involving the sale

   of synthetic cannabinoids by individuals and businesses.         He has also

   researched synthetic cannabinoids, their chemical makeup and physiological

   effects, and distribution patterns in Wise County. Prior to presenting his

   affidavit to the state magistrate, Lt. Mullins obtained its approval by an

   attorney who was the chief prosecutor for the county.

3. The affidavit supporting the warrant stated as follows. In recent years, Lt.

   Mullins has observed the manufacture and distribution of synthetic

   cannabinoids with slightly varied compounds that produce the same

   physiological effects in order to circumvent newly enacted federal and state

   laws. These substances are considered to be hallucinogens and affect the

   body in a similar way to THC, the active ingredient in marijuana. Lt.


                                     -3-
Case 2:14-cr-00001-JPJ-PMS      Document 223     Filed 10/01/14   Page 4 of 13
                                Pageid#: 1296



   Mullins has observed the distribution of synthetic cannabinoids in Wise

   County, Virginia, since 2011 by individuals, small businesses and major

   retailers, and he has also observed related property crimes.

4. According to the affidavit, on December 21, 2012, Lt. Mullins purchased in

   an undercover capacity three grams of alleged synthetic cannabinoid, labeled

   “Shpark in the Dark,” at Cecil’s Variety Store. A laboratory test later

   revealed the substance to contain XLR-11. At the time of purchase, Lt.

   Mullins observed what he believed to be synthetic cannabinoids offered for

   sale in assorted packages with differing weights and brand names.

5. On September 18, 2013, a confidential informant working undercover

   conducted a second controlled buy at Cecil’s Variety Store of three grams of

   a substance labeled “Darkness.” The affidavit does not allege that this

   substance was subjected to a laboratory test. According to Lt. Mullins, the

   informant has given him reliable and credible information and assistance in

   the past.

6. On September 24, 2013, a second search warrant was executed at the Get it

   Here store and the Stephens’ residence, which is located adjacent to the store

   across a gravel road. The search resulted in the seizure of merchandise,

   cash, and other property.




                                      -4-
Case 2:14-cr-00001-JPJ-PMS    Document 223    Filed 10/01/14   Page 5 of 13
                              Pageid#: 1297



7. The warrant for this second search was based on the affidavit of Special

   Agent Ryan Temm of the federal Bureau of Alcohol, Tobacco, Firearms and

   Explosives (the “ATF”). Agent Temm has been employed by the ATF for

   five years. He has received training in investigative techniques, including

   the preparation of search warrants, and has participated in numerous

   narcotics trafficking investigations, including ones involving synthetic

   cannabinoids.

8. The affidavit supporting the second warrant stated as follows. On January

   23, 2013, an undercover agent from the Southwest Virginia Drug Task Force

   (the “DTF”) purchased 1.5 grams of suspected synthetic cannabinoid labeled

   “Kraker” from Get it Here, as well as pipe screens and a smoking pipe. A

   laboratory test revealed the substance to contain XLR-11 and 5F-AKB48.

   During the purchase, the undercover agent observed various packages of

   what appeared to be synthetic cannabinoids with different brand names. The

   undercover agent had seen some of the same brands during other undercover

   synthetic cannabinoid purchases.

9. The affidavit alleged that investigators with state police and the DTF had

   uncovered a conspiracy to distribute synthetic cannabinoids from retail

   stores in Wise County, Virginia, primarily between Douglas Stephens,

   Emmanuel Vestal and Cecil McConnell. This alleged conspiracy involved


                                      -5-
   Case 2:14-cr-00001-JPJ-PMS        Document 223      Filed 10/01/14   Page 6 of 13
                                     Pageid#: 1298



      importing synthetic cannibinoids from other states and undercutting prices

      throughout the area in order to shut down competing businesses.               The

      affidavit describes interviews with several of those involved in the

      conspiracy, including Vestal.

   10. On September 17, 2013, an undercover agent from the DTF purchased two

      grams of “Kraker,” alleged to be synthetic marijuana, and a smoking pipe

      from Get it Here. Laboratory test results of the substance, if any, did not

      appear in the affidavit.

                                           II.

      The Fourth Amendment protects “against unreasonable searches and

seizures,” and requires that “no Warrants shall issue, but upon probable cause,

supported by Oath or affirmation.” U.S. Const. amend. IV. The probable cause

requirement is normally satisfied by an investigating officer’s affidavit. United

States v. Riley, No. 2:12-cr-00478-JAD-VCF, 2014 WL 537013, at *2 (D. Nev.

Feb. 7, 2014). Probable cause exists where, “given all the circumstances set forth

in the affidavit . . . there is a fair probability that contraband or evidence of a crime

will be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983).

Probable cause “is a practical, common-sense question that is to be resolved by

determining those probabilities based upon the totality-of-the-circumstances

presented in each individual case.” United States v. Brown, No. 90-5738, 1992


                                           -6-
   Case 2:14-cr-00001-JPJ-PMS        Document 223    Filed 10/01/14   Page 7 of 13
                                     Pageid#: 1299



WL 46838, at *2 (4th Cir. Feb. 12, 1992) (unpublished) (citing Gates, 462 U.S. at

230-32).   A reviewing court must ensure that the magistrate had a ‘“substantial

basis”’ for finding probable cause. Gates, 462 U.S. at 238 (quoting Jones v.

United States, 362 U.S. 257, 271).

      The defendants contend that the search warrants were invalid because they

were not supported by probable cause. First, they argue that the affidavits did not

adequately allege that the XLR-11 sold by the defendants was a controlled

substance analogue, and second, that the December 2012 and January 2013

controlled buys were too remote in time to support the warrant, rendering the

evidence stale.

      The defendants’ first claim rests on several related arguments. They argue

that the agents lacked the requisite scientific training to discern whether the

substances at issue were indeed controlled substance analogues. Further, they

contend that the allegation that the substances were controlled substance

analogues, particularly the assumption that the second set of controlled buys would

yield the same synthetic cannibinoids as the first, was unduly speculative given the

shifting drug market and changes to Virginia and federal law between the first and

second set of controlled buys. Finally, they claim that the affidavits fail to show an

actual sale of synthetic cannabinoid.




                                          -7-
   Case 2:14-cr-00001-JPJ-PMS      Document 223     Filed 10/01/14   Page 8 of 13
                                   Pageid#: 1300



       The defendant’s arguments are far too exacting for the probable cause

standard. “[T]he issue in warrant proceedings is not guilt beyond reasonable doubt

but probable cause for believing the occurrence of a crime.” United States v.

Harris, 403 U.S. 573, 584 (1971). The District of Nevada recently rejected a

defendant’s claim that a law enforcement affidavit alleging distribution of

controlled substance analogues was invalid because it was not supported by an

affidavit from a trained chemist. Riley, 2014 WL 537013, at *3.           The court

reasoned that whether the law enforcement officers in question “were qualified to

determine if the chemical structures of the substances in question were, in fact,

substantially similar to controlled substances is irrelevant.” Id. (emphasis added).

Rather, “[a]s members of federal agencies tasked with enforcing the drug laws,

[they] were qualified to make [the probable cause] assessment” — a substantially

lower threshold. Id. Although the Riley court’s decision is not binding on this

court, I find the reasoning to be persuasive. As stated in their affidavits, the

officers in this case had extensive training and experience in narcotics

investigations generally, and synthetic cannabinoid distribution cases in particular.

The defendants have offered no reason to doubt their ability to make a probable

cause determination regarding these substances.

      Defendants’ other arguments fail for similar reasons. Probable cause is “the

product of ‘a practical, common-sense’ inquiry” that “does not rest on a scientific


                                         -8-
   Case 2:14-cr-00001-JPJ-PMS      Document 223     Filed 10/01/14   Page 9 of 13
                                   Pageid#: 1301



foundation or need to withstand cross-examination.” Id. (quoting Gates, 462 U.S.

at 238-39). For purposes of a search warrant, law enforcement does not need to

definitely prove that the substances at issue were indeed controlled substance

analogues, but merely to show that there is a “fair probability” that they are. See

Gates, 462 U.S. at 238. While it is true that an affidavit cannot consist of “wholly

conclusory statement[s],” id. at 239, the affidavit in this case — based on the

officers’ training and experience with synthetic cannabinoid investigations, their

observation of product distribution over time from these stores, and two sets of

controlled buys from the defendants — is sufficient to show probable cause that

these stores were holding out synthetic cannabinoids for sale to the public.

      Second, the defendants argue that the evidentiary basis for the search

warrant was stale. They point out that the only laboratory tests confirming the

substances they sold to be controlled substance analogues related to the December

2012 and January 2013 controlled buys, and that the search warrant was executed

more than nine months later, in September 2013. “While there is no bright line

rule for staleness, the facts in an affidavit supporting a search warrant must be

sufficiently close in time to the issuance of the warrant and the subsequent search

conducted so that probable cause can be said to exist as of the time of the search

and not simply as of some time in the past.” United States v. Wagner, 989 F.2d 69,

75 (2d Cir. 1993). In assessing staleness, “the court should place great emphasis,


                                         -9-
  Case 2:14-cr-00001-JPJ-PMS        Document 223     Filed 10/01/14   Page 10 of 13
                                    Pageid#: 1302



not only upon the age of those facts, but also upon the nature of the allegedly

unlawful conduct.” United States v. Boone, 752 F. Supp. 710, 712 (E.D. Va.

1990). “Facts of past criminal activity that by themselves are too stale can be

sufficient if the affidavit also establishes a pattern of continuing criminal activity

so there is reason to believe that the cited activity was probably not a one-time

occurrence.” Wagner, 989 F.2d at 75; see also United States v. Rowell, 903 F.2d

899, 903 (2d Cir. 1990) (“[N]arcotics conspiracies are the very paradigm of the

continuing enterprises for which the courts have relaxed the temporal requirements

of non-staleness.” (internal quotation marks and citations omitted)); Boone, 752 F.

Supp. at 712 (noting that “[w]here the activity in question is one of a continuous

nature, a lapse of time is of less significance”).

        In Rowell, the Second Circuit upheld the determination of probable cause

for a wiretap warrant, despite an eighteen-month delay between procuring

statements from confidential informants and seeking the warrant, due to the

ongoing nature of the drug conspiracy and the fact that the defendant himself had

revealed during a controlled buy that he regularly sold drugs and that he suggested

an ongoing relationship with the undercover officer. 903 F.3d at 903. In Boone,

the Eastern District of Virginia rejected a defendant’s staleness claim because the

police affidavit “alleged a widespread conspiracy to traffic in controlled substances

spanning several years and involving various participants in different locations.”


                                          -10-
  Case 2:14-cr-00001-JPJ-PMS       Document 223      Filed 10/01/14    Page 11 of 13
                                   Pageid#: 1303



752 F. Supp. at 713. Although the delay between the most recent information and

the warrant in that case was only three months, some of the information on which

they relied was several years old. Id.

      Here, the affidavits for the search warrant alleged that the undercover

purchasers observed assorted packages with numerous brand names of suspected

synthetic cannabinoids held out for sale at Cecil’s Variety Store and Get it Here

during two sets of controlled buys. The affidavits also alleged that synthetic

cannabinoids have been sold at various stores in the area, in an ongoing

conspiracy. A second set of controlled buys of suspected synthetic cannabinoids

less than a week before the execution of the search warrant confirmed the

continuous nature of the defendants’ activity. Considering that the defendants

were operating storefront operations with synthetic cannabinoids being sold over a

period of time, the facts alleged in the officers’ affidavits are sufficient to defeat a

staleness claim.

                                          III.

      Even assuming that there was no probable cause, I find that the evidence

seized should not be suppressed under the good-faith exception.

      “The fact that a Fourth Amendment violation occurred — i.e., that a search

or arrest was unreasonable — does not necessarily mean that the exclusionary rule

applies.” Herring v. United States, 555 U.S. 135, 140 (2009). Even where the


                                          -11-
  Case 2:14-cr-00001-JPJ-PMS       Document 223      Filed 10/01/14     Page 12 of 13
                                   Pageid#: 1304



circumstances demonstrate that there was no basis to find probable cause, the fruits

of a search still should not be suppressed unless “a reasonably well trained officer

would have known that the search was illegal despite the magistrate=s

authorization.” United States v. Leon, 468 U.S. 897, 923 n.23 (1984). This good-

faith exception, as it is commonly called, does not apply in four circumstances: (1)

when the magistrate was misled by a knowing or reckless falsity in the affidavit;

(2) when the magistrate abandoned his neutral, judicial role; (3) when an “affidavit

[is] so lacking in indicia of probable cause as to render official belief in its

existence entirely unreasonable”; and (4) when the warrant is so “facially

deficient” that an officer could not “reasonably presume it to be valid.” Id. at 923

(internal quotation marks and citations omitted).

      None of these conditions apply here.          While this is a complicated and

changing area of drug enforcement law, the officers here were trained and

experienced. Indeed, one of them was advised by a lawyer. See United States v.

Clay, 646 F.3d 1124, 1127 (8th Cir. 2011) (“One relevant circumstance to consider

when determining whether an officer’s actions were objectively reasonable is

whether the officer consulted with an attorney prior to seeking the warrant.”).

      There is simply no indication that the officers did not act in good faith in

relying upon judicial officers’ issuance of the warrants in question.




                                         -12-
  Case 2:14-cr-00001-JPJ-PMS    Document 223      Filed 10/01/14   Page 13 of 13
                                Pageid#: 1305



                                     IV.

     For these reasons, it is ORDERED that the defendants’ motions to suppress

(ECF Nos. 143 (McConnell), 156 (Constance Nicole Stephens), and 166 (Douglas

Eugene Stephens)) are DENIED.

                                            ENTER: October 1, 2014

                                            /s/ James P. Jones
                                            United States District Judge




                                     -13-
